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                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA                            *               CRIMINAL DOCKET

VERSUS                                              *               NO. 08-231

LEROY DABNEY, IV                                    *               SECTION "L"


                                     ORDER & REASONS

       Before the Court are two motions filed by the Defendant: (1) Motion Pursuant to Federal

Rule Criminal Procedure Rule 35(a) to Correct an Illegal Sentence (R. Doc. 1025), and (2)

Motion to Amend and Supplemental Pleading Pursuant to Federal Rule Civil Procedure 15(a) (R.

Doc. 1038). For the following reasons, these motions are DENIED.

I.     BACKGROUND

       On October 22, 2009, the Defendant plead guilty to count one of the four-count First

Superceding Indictment (R. Doc. 194). See (R. Doc. 439)(Sealed). In count one, the grand jury

charged Defendant with conspiring to distribute and possess with the intent to distribute 50

grams or more of cocaine base (“crack”), five kilograms or more of cocaine hydrochloride, and a

quantity of marijuana, during the time period of January 1, 2004 through November 9, 2007, all

in violation of Title 21 United States Code sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(D), and

846. (R. Doc. 194).

       At the time of the plea, the Defendant and the Government had entered into a Plea

Agreement whereby the Government agreed not to charge the Defendant with further violations

of the Federal Controlled Substances Act or as a multiple offender with prior felony drug

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convictions, and the Defendant waived his right of appeal, including contesting his sentence in

collateral proceedings, except for ineffective assistance of counsel. See (R. Doc. 440)(Sealed).

       During the re-arraignment the Court informed the Defendant of the statutory mandatory

minimum sentence of 120 months he faced by pleading guilty to count-one. See Hr’g Tr. Dec. 2,

2010. Additionally, the Defendant acknowledged this minimum in the Plea Agreement. See (R.

Doc. 440)(Sealed).

       Following the re-arraignment proceeding, a Presentence Investigation Report (“PSIR”)

was conducted by the U.S. Probation Office. See (R. Doc. 439)(Sealed). The original PSIR was

issued on July 22, 2010. It calculated the statutory mandatory minimum sentence for count-one

as 120 months. It also casts the Defendant responsible for selling and purchasing at least 150

grams but less than 500 grams of cocaine base, and at least 200 grams but less than 300 grams of

cocaine hydrochloride during the conspiracy. The original PSIR computed the U.S. Sentencing

Guidelines based upon the 100:1 ratio between cocaine base and powder cocaine offenses. After

enactment of the Fair Sentencing Act of 2010 (“FSA”), Probation issued a Second Addendum to

the PSIR which recalculated the Defendant’s sentencing Guidelines based upon the new 18:1

ratio, which resulted in a Guideline sentence range of 78 to 87 months. It also recognized the

statutory mandatory minimum sentence of 120 months remained unchanged by the FSA. No

objections to the PSIR were filed by the Defendant or Government.

       On December 2, 2010, the Defendant came before the Court for sentencing. See (R. Doc.

890). The Court informed the Defendant of his sentencing Guideline range as amended by the

FSA, as well as the statutory mandatory minimum sentence. See Hr’g Tr. Dec. 2, 2010.

Defendant’s counsel acknowledged on the record that the Court was bound by the statutory


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mandatory minimum sentence. See id. The Court ultimately sentenced the Defendant to the

statutory mandatory minimum sentence of 120 months. See id.

II.     PRESENT MOTION

               A.      Defendant’s Motion

        The Defendant has filed three briefs in support of his Motion to Correct an Illegal

Sentence. (R. Docs. 1025, 1038, 1048). Defendant invokes Federal Rule of Criminal Procedure

35(a) as the procedural basis for the relief sought, noting he filed his Motion within 120 days of

sentencing. Defendant refutes he waived his right to bring a post-conviction proceeding for lack

of jurisdiction. He claims the Court improperly sentenced him based upon the 100:1 pre-FSA

Guidelines ratio. He also claims the Court violated the Equal Protection and Ex Post Facto

clauses by the sentence it imposed. Additionally, Defendant seeks the application of a lower

statutory mandatory minimum because, although the conduct to which he plead occurred prior to

enactment of the FSA, he was sentenced after the enactment.

        B.     Government’s Response

        The Government filed a Response in opposition to Defendant’s Motion, arguing the

Court properly sentenced Defendant to 120 months based upon the statutory mandatory

minimum sentence. (R. Doc. 1037). The Government claims the Defendant is procedurally

barred from bringing the present Motion because he failed to file his Motion within 14 days of

sentencing as required by Rule 35, and he waived his right to file the Motion in the Plea

Agreement. Additionally, the Government claims that even if Defendant is able to bring his

Motion, the Court properly considered both the 18:1 Guideline range ratio and the statutory

mandatory minimum in effect at the time of sentencing, and was obligated to apply the 120


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month statutory mandatory minium. Finally, the Government claims the Defendant’s arguments

under the ex post facto clause and equal protection are inapplicable to the present matter.

III.     LAW & ANALYSIS

         A.     Rule 35

         Defendant brings the present Motion pursuant to Federal Rule of Criminal Procedure

35(a). The current version of this Rule states, “[w]ithin 14 days after sentencing, the court may

correct a sentence that resulted from arithmetical, technical, or other clear error.” Fed. R. Cr. P.

35(a). As Defendant acknowledges, he filed the present Motion well-beyond 14 days after his

sentencing. See (R. Doc. 1048). On this basis alone, denial of the Motion is warranted.

         Even assuming the Defendant filed his Rule 35(a) Motion timely, the Court did not

commit an error in sentencing the Defendant. The Court, the Plea Agreement, and the PSIR all

advised the Defendant of the Guidelines range under the FSA’s 18:1 ratio and the statutory

mandatory minimum for count one. The Defendant did not raise any objections to these

calculations until now. Because the 120 month statutory mandatory minimum was higher than

the 18:1 Guidelines range, the Court was obligated to sentence the defendant to the statutory

mandatory minimum. See United States v. Krumnow, 476 F.3d 294, 297 (5th Cir.

2007)(recognizing the prohibition against sentencing a defendant below the statutory mandatory

minimum absent a motion by the government recognizing the defendant’s substantial assistance

or the defendant satisfying the “safety valve” criteria); United States v. Farias, 469 F.3d 393,

401 (5th Cir. 2006)(“[W]hatever result the Guidelines yield, the sentence cannot be less than the

mandatory minimum.”). The FSA does not change the statutory mandatory minimum for the

Defendant since he plead to a cocaine-based offense which is unaffected by the FSA, see Fair


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Sentencing Act of 2010, PL 111-220, August 3, 2010, 124 Stat 2372, and carries a 120 month

statutory mandatory minimum independent of the crack-related offense to which Defendant

plead. See 21 U.S.C. § 841(b)(1)(A)(ii)(II)(calculating statutory mandatory minimum for

offense involving five kilograms or more of cocaine at 120 months). Based upon his briefing,

the Defendant appears to equate the 120 month statutory mandatory minimum with the pre-FSA

100:1 Guidelines ratio; this is inaccurate under both the facts of the case and the applicable law.

       B.      18 U.S.C. § 3582(c)(2)

       As a pro se Defendant, the Court is obligated to construe the Defendant’s Motion

liberally. See United States v. Riascos, 76 F.3d 93, 94 (5th Cir. 1996). Accordingly, out of an

abundance of caution, the Court construes Defendant’s Motion as one for modification of his

sentence pursuant to 18 U.S.C. § 3582(c)(2). This statute permits a Court to modify a sentence

       [I]n the case of a defendant who has been sentenced to a term of imprisonment based on a
       sentencing range that has subsequently been lowered by the Sentencing Commission
       pursuant to 28 U.S.C. 994(o), upon motion of the defendant...the court may reduce the
       term of imprisonment, after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if such a reduction is consistent with applicable policy
       statements issued by the Sentencing Commission. 18 U.S.C. § 3582(c)(2).

Here, the Court considered the proper sentencing Guidelines range, the 18:1 ratio as imposed by

the FSA, in sentencing the Defendant. The Court was unable to apply this range because, as

discussed above, the offense to which the Defendant plead triggered the application of the

statutory mandatory minimum of 120 months. Additionally, the Defendant also plead to a

cocaine-related offense which carried a 120 month statutory mandatory minimum sentence

unaffected by the FSA. Thus, no relief pursuant to Section 3582(c)(2) is available to the

Defendant.

       C.      Waiver of Right to Bring Post-Conviction Proceedings

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       Defendant argues that he has not waived his right to bring a post-conviction proceeding

for lack of jurisdiction. It is not clear from the briefing what basis the Defendant claims this

Court lacked jurisdiction at sentencing, though it appears he suggests the Court lacked

jurisdiction to sentence him under the pre-FSA 100:1 ratio. As noted throughout this Order &

Reasons, the Court did not sentence the Defendant based upon the 100:1 ratio, thus this

argument is misplaced.

       With regard to waiver, the Court notes that the Plea Agreement the Defendant entered

into with the Government does prevent the Defendant from appealing his sentence or raising a

challenge to his sentence in a collateral proceeding except “if the defendant establishes that

ineffective assistance of counsel directly affected the validity of this waiver of appeal and

collateral challenge rights or the validity of the guilty plea itself.” (R. Doc. 440)(Sealed). Thus,

the Defendant’s Motion is prohibited by this provision in the Plea Agreement since he does not

raise any ineffective assistance of counsel claims.

       D.      Ex Post Facto Clause

       Defendant also raises the argument that his sentence violates the Ex Post Facto Clause.

“Article I, § 10, of the Constitution prohibits the States from passing any ‘ex post facto Law.’”

Cal. Dep’t of Corr. v. Morales, 514 U.S. 499, 504 (1995). It “is aimed at laws that ‘retroactively

alter the definition of crimes or increase the punishment for criminal acts.’” Id. Here, because

the FSA did not increase the sentence Defendant received, but rather would have decreased his

sentence had the statutory mandatory minimum not been triggered, this argument is misplaced.

       E.      Equal Protection Clause

       Defendant also claims his sentence violates the Equal Protection Clause because he was


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sentenced under the pre-FSA 100:1 ratio instead of the FSA 18:1 ratio. As noted several times,

the Court did not sentence the Defendant under the 100:1 ratio, but rather was obligated to apply

the statutory mandatory minimum in sentencing the Defendant. The Court finds no basis under

the law for an equal protection violation for sentencing the Defendant under the laws in effect at

the time of sentencing.

IV.     CONCLUSION

        For the foregoing reasons, IT IS ORDERED that Defendant’s (1) Motion Pursuant to

Federal Rule Criminal Procedure Rule 35(a) to Correct an Illegal Sentence (R. Doc. 1025), and

(2) Motion to Amend and Supplemental Pleading Pursuant to Federal Rule Civil Procedure 15(a)

(R. Doc. 1038) are DENIED.



               New Orleans, Louisiana this 10th day of August, 2011.



                                             ____________________
                                             U.S. District Judge

Clerk to serve:
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